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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

 UNITED STATES OF AMERICA
                                                              VERDICT SHEET
        - against -
                                                              20-CR-239 (BMC)
 MOELEEK HARRELL, et al.,

                           Defendants.

 - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                                      AS TO COUNT ONE
                                         Racketeering


       As to each of the Racketeering Acts listed below, indicate whether you find
 “proved” or “not proved” that the defendant you are considering committed the
 Racketeering Act alleged. Then, on page 18, indicate whether you find the
 defendant you are considering “guilty” or “not guilty” of Count One.
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 Racketeering Act One:          Narcotics Trafficking Conspiracy


       As to defendant MOELEEK HARRELL:

                                      Not Proved _________ Proved _________

     If you find that Racketeering Act One was proved as to defendant MOELEEK
 HARRELL, answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of cocaine involved in the
 conspiracy attributable to the defendant MOELEEK HARRELL as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was:

             (a)   500 grams or more of a substance containing cocaine?

                                      No _________             Yes _________

             (b)   5 kilograms or more of a substance containing cocaine?

                                      No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of heroin involved in the
 conspiracy attributable to the defendant MOELEEK HARRELL as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was:

             (a)   100 grams or more of a substance containing heroin?

                                      No _________             Yes _________

             (b)   1 kilogram or more of a substance containing heroin?

                                      No _________             Yes _________



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       As to defendant DERRICK AYERS:

                                      Not Proved _________ Proved _________

     If you find that Racketeering Act One was proved as to defendant DERRICK
 AYERS, answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of cocaine involved in the
 conspiracy attributable to the defendant DERRICK AYERS as a result of his own
 conduct, and the conduct of other conspirators reasonably foreseeable to him, was:

             (a)   500 grams or more of a substance containing cocaine?

                                      No _________              Yes _________

             (b)   5 kilograms or more of a substance containing cocaine?

                                      No _________              Yes _________

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of heroin involved in the
 conspiracy attributable to the defendant DERRICK AYERS as a result of his own
 conduct, and the conduct of other conspirators reasonably foreseeable to him, was:

             (a)   100 grams or more of a substance containing heroin?

                                      No _________              Yes _________

             (b)   1 kilogram or more of a substance containing heroin?

                                      No _________              Yes _________




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       As to defendant FRANKLIN GILLESPIE:

                                      Not Proved _________ Proved _________

      If you find that Racketeering Act One was proved as to defendant FRANKLIN
 GILLESPIE, answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of cocaine involved in the
 conspiracy attributable to the defendant FRANKLIN GILLESPIE as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was:

             (a)   500 grams or more of a substance containing cocaine?

                                      No _________             Yes _________

             (b)   5 kilograms or more of a substance containing cocaine?

                                      No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of heroin involved in the
 conspiracy attributable to the defendant FRANKLIN GILLESPIE as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was 1 kilogram or more of a substance containing heroin?

             (a)   100 grams or more of a substance containing heroin?

                                      No _________             Yes _________

             (b)   1 kilogram or more of a substance containing heroin?

                                      No _________             Yes _________




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       As to defendant ANTHONY KENNEDY:

                                      Not Proved _________ Proved _________

     If you find that Racketeering Act One was proved as to defendant ANTHONY
 KENNEDY, answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of cocaine involved in the
 conspiracy attributable to the defendant ANTHONY KENNEDY as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was:

             (a)   500 grams or more of a substance containing cocaine?

                                      No _________             Yes _________

             (b)   5 kilograms or more of a substance containing cocaine?

                                      No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt as to the
 crime charged in Racketeering Act One that the amount of heroin involved in the
 conspiracy attributable to the defendant ANTHONY KENNEDY as a result of his
 own conduct, and the conduct of other conspirators reasonably foreseeable to him,
 was:

             (a)   100 grams or more of a substance containing heroin?

                                      No _________             Yes _________

             (b)   1 kilogram or more of a substance containing heroin?

                                      No _________             Yes _________




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 Racketeering Act Two:         Money Laundering Conspiracy


       As to defendant MOELEEK HARRELL:

                                     Not Proved _________ Proved _________


       As to defendant DERRICK AYERS:

                                     Not Proved _________ Proved _________


       As to defendant ANTHONY KENNEDY:

                                     Not Proved _________ Proved _________




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 Racketeering Act Three:       Murder Conspiracy/Attempted Murder –
                               John Doe #1


       As to defendant MOELEEK HARRELL:

             Subpart A: Conspiracy to Murder

                                     Not Proved _________ Proved _________

             Subpart B: Attempted Murder

                                     Not Proved _________ Proved _________


       As to defendant DERRICK AYERS:

             Subpart A: Conspiracy to Murder

                                     Not Proved _________ Proved _________




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 Racketeering Act Four:        Murder Conspiracy – John Doe #2


       As to defendant MOELEEK HARRELL:

                                     Not Proved _________ Proved _________


       As to defendant DERRICK AYERS:

                                     Not Proved _________ Proved _________




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 Racketeering Act Five:        Murder – Jonathan Jackson


       As to defendant DERRICK AYERS:

                                     Not Proved _________ Proved _________




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  Racketeering Act Six:        Narcotics Trafficking Conspiracy/Money
                               Laundering Conspiracy


        As to defendant MOELEEK HARRELL:

              Subpart A: Narcotics Trafficking Conspiracy

                                     Not Proved _________ Proved _________

              Subpart B: Money Laundering Conspiracy

                                     Not Proved _________ Proved _________


        As to defendant ANTHONY KENNEDY:

              Subpart A: Narcotics Trafficking Conspiracy

                                     Not Proved _________ Proved _________

              Subpart B: Money Laundering Conspiracy

                                     Not Proved _________ Proved _________




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  Racketeering Act Seven:      Murder Conspiracy/Murder – Paul Hoilett


        As to defendant FRANKLIN GILLESPIE:

              Subpart A: Conspiracy to Murder

                                     Not Proved _________ Proved _________

              Subpart B: Murder

                                     Not Proved _________ Proved _________




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  Racketeering Act Eight:      Murder Conspiracy/Murder – Mike Hawley


        As to defendant FRANKLIN GILLESPIE:

              Subpart A: Conspiracy to Murder

                                     Not Proved _________ Proved _________

              Subpart B: Murder

                                     Not Proved _________ Proved _________


        As to defendant ANTHONY KENNEDY:

              Subpart A: Conspiracy to Murder

                                     Not Proved _________ Proved _________

              Subpart B: Murder

                                     Not Proved _________ Proved _________




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  Racketeering Act Nine:       State Law Bribery


        As to defendant MOELEEK HARRELL:

                                     Not Proved _________ Proved _________

        As to defendant ANTHONY KENNEDY:

                                     Not Proved _________ Proved _________




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  Racketeering Act Ten:        State Law Bribery


        As to defendant MOELEEK HARRELL:

                                     Not Proved _________ Proved _________




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  Racketeering Act Eleven:     Possession of Narcotics with Intent to Distribute


        As to defendant DERRICK AYERS:

                                     Not Proved _________ Proved _________


        As to defendant FRANKLIN GILLESPIE:

                                     Not Proved _________ Proved _________


        As to defendant ANTHONY KENNEDY:

                                     Not Proved _________ Proved _________




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  Racketeering Act Twelve:     State Law Robbery – John Does #3-5


        As to defendant FRANKLIN GILLESPIE:

                                     Not Proved _________ Proved _________




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  Racketeering Act Thirteen:   State Law Robbery – John Does #6-8


        As to defendant FRANKLIN GILLESPIE:

                                     Not Proved _________ Proved _________




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  As to Count One


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________


        How do you find defendant FRANKLIN GILLESPIE?

                                     Not Guilty _________ Guilty _________


        How do you find defendant ANTHONY KENNEDY?

                                     Not Guilty _________ Guilty _________




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                           AS TO COUNT TWO
           Conspiracy to Possess with Intent to Distribute Narcotics


        How do you find defendant MOELEEK HARRELL?

                                       Not Guilty _________ Guilty _________

       If you find that defendant MOELEEK HARRELL is guilty of Count Two,
  answer the following two questions:

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of cocaine involved in the
  conspiracy attributable to the defendant MOELEEK HARRELL as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   500 grams or more of a substance containing cocaine?

                                       No _________             Yes _________

              (b)   5 kilograms or more of a substance containing cocaine?

                                       No _________             Yes _________

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of heroin involved in the
  conspiracy attributable to the defendant MOELEEK HARRELL as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   100 grams or more of a substance containing heroin?

                                       No _________             Yes _________

              (b)   1 kilogram or more of a substance containing heroin?

                                       No _________             Yes _________


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        How do you find defendant DERRICK AYERS?

                                       Not Guilty _________ Guilty _________

         If you find that defendant DERRICK AYERS is guilty of Count Two, answer
  the following two questions:

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of cocaine involved in the
  conspiracy attributable to the defendant DERRICK AYERS as a result of his own
  conduct, and the conduct of other conspirators reasonably foreseeable to him, was:

              (a)   500 grams or more of a substance containing cocaine?

                                       No _________              Yes _________

              (b)   5 kilograms or more of a substance containing cocaine?

                                       No _________              Yes _________

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of heroin involved in the
  conspiracy attributable to the defendant DERRICK AYERS as a result of his own
  conduct, and the conduct of other conspirators reasonably foreseeable to him, was:

              (a)   100 grams or more of a substance containing heroin?

                                       No _________              Yes _________

              (b)   1 kilogram or more of a substance containing heroin?

                                       No _________              Yes _________




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        How do you find defendant FRANKLIN GILLESPIE?

                                       Not Guilty _________ Guilty _________

       If you find that defendant FRANKLIN GILLESPIE is guilty of Count Two,
  answer the following two questions:

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of cocaine involved in the
  conspiracy attributable to the defendant FRANKLIN GILLESPIE as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   500 grams or more of a substance containing cocaine?

                                       No _________             Yes _________

              (b)   5 kilograms or more of a substance containing cocaine?

                                       No _________             Yes _________

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of heroin involved in the
  conspiracy attributable to the defendant FRANKLIN GILLESPIE as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   100 grams or more of a substance containing heroin?

                                       No _________             Yes _________

              (b)   1 kilogram or more of a substance containing heroin?

                                       No _________             Yes _________




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        How do you find defendant ANTHONY KENNEDY?

                                       Not Guilty _________ Guilty _________

       If you find that defendant ANTHONY KENNEDY is guilty of Count Two,
  answer the following two questions:

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of cocaine involved in the
  conspiracy attributable to the defendant ANTHONY KENNEDY as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   500 grams or more of a substance containing cocaine?

                                       No _________             Yes _________

              (b)   5 kilograms or more of a substance containing cocaine?

                                       No _________             Yes _________

        Do you find that the government proved beyond a reasonable doubt as to the
  crime charged in Racketeering Act One that the amount of heroin involved in the
  conspiracy attributable to the defendant ANTHONY KENNEDY as a result of his
  own conduct, and the conduct of other conspirators reasonably foreseeable to him,
  was:

              (a)   100 grams or more of a substance containing heroin?

                                       No _________             Yes _________

              (b)   1 kilogram or more of a substance containing heroin?

                                       No _________             Yes _________




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                           AS TO COUNT THREE
         Unlawful Possession, Brandishing, and Discharge of Firearms


        As to defendant MOELEEK HARRELL:

       If you found defendant MOELEEK HARRELL guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant MOELEEK HARRELL?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant MOELEEK HARRELL guilty of Count
  Three, specify if you found the defendant to have committed Count Three in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________

       If you found defendant MOELEEK HARRELL guilty as to Count Three,
  answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                        No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                        No _________             Yes _________




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        As to defendant DERRICK AYERS:

       If you found defendant DERRICK AYERS guilty as to Count One or Count
  Two, answer the following question:

        How do you find defendant DERRICK AYERS?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant DERRICK AYERS guilty of Count
  Three, specify if you found the defendant to have committed Count Three in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________

         If you found defendant DERRICK AYERS guilty as to Count Three, answer
  the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                        No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                        No _________             Yes _________




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        As to defendant FRANKLIN GILLESPIE:

       If you found defendant FRANKLIN GILLESPIE guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant FRANKLIN GILLESPIE guilty of
  Count Three, specify if you found the defendant to have committed Count Three in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________

       If you found defendant FRANKLIN GILLESPIE guilty as to Count Three,
  answer the following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                        No _________             Yes _________




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        As to defendant ANTHONY KENNEDY:

       If you found defendant ANTHONY KENNEDY guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant ANTHONY KENNEDY?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant ANTHONY KENNEDY guilty of Count
  Three, specify if you found the defendant to have committed Count Three in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________




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                          AS TO COUNT FOUR
                        Money Laundering Conspiracy


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




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                           AS TO COUNT FIVE
           Conspiracy to Commit Murder In-Aid-Of Racketeering –
                               John Doe #2


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




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                            AS TO COUNT SIX
            Conspiracy to Commit Murder In-Aid-Of Rackteering –
                         Members of the Stukes Crew


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




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                           AS TO COUNT SEVEN
                       Assault In-Aid-Of Racketeering –
                        John Doe #2 and Jane Doe #1


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




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                          AS TO COUNT EIGHT
        Unlawful Possession, Brandishing, and Discharge of a Firearm


        As to defendant MOELEEK HARRELL:

       If you found defendant MOELEEK HARRELL guilty as to Count Seven,
  answer the following question:

        How do you find defendant MOELEEK HARRELL?

                                      Not Guilty _________ Guilty _________

       If you found defendant MOELEEK HARRELL guilty as to Count Eight,
  answer the following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                      No _________            Yes _________




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        As to defendant DERRICK AYERS:

         If you found defendant DERRICK AYERS guilty as to Count Seven, answer
  the following question:

        How do you find defendant DERRICK AYERS?

                                      Not Guilty _________ Guilty _________

         If you found defendant DERRICK AYERS guilty as to Count Eight, answer
  the following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                      No _________            Yes _________




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        As to defendants MOELEEK HARRELL and DERRICK AYERS:

        If you found either defendant (or both) guilty as to Count Eight, answer the
  following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                       No _________              Yes _________




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                            AS TO COUNT NINE
         Unlawful Possession, Brandishing, and Discharge of a Firearm


       If you found defendant DERRICK AYERS guilty as to Count One or Count
  Two, answer the following question:

        How do you find defendant DERRICK AYERS?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant DERRICK AYERS guilty of Count
  Nine, specify if you found the defendant to have committed Count Nine in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________

         If you found defendant DERRICK AYERS guilty as to Count Nine, answer
  the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                        No _________             Yes _________

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                        No _________             Yes _________




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                           AS TO COUNT TEN
    Causing the Death of Jonathan Jackson Through the Use of a Firearm


         If you found defendant DERRICK AYERS guilty as to Count Nine, answer
  the following question:

        How do you find defendant DERRICK AYERS?

                                         Not Guilty _________ Guilty _________

        If—but only if—you found defendant DERRICK AYERS guilty of Count Ten,
  specify if you found that the killing is a murder under Title 18, United States Code,
  Section 1111(a) or voluntary manslaughter under Section 1112(a). Please check
  the one that applies.

                                         Murder                    _________

                                         Voluntary Manslaughter_________




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                          AS TO COUNT ELEVEN
                       Assault In-Aid-Of Racketeering –
                        John Doe #1 and Jane Doe #2


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




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                         AS TO COUNT TWELVE
        Unlawful Possession, Brandishing, and Discharge of a Firearm


        As to defendant MOELEEK HARRELL:

       If you found defendant MOELEEK HARRELL guilty as to Count Eleven,
  answer the following question:

        How do you find defendant MOELEEK HARRELL?

                                      Not Guilty _________ Guilty _________

       If you found defendant MOELEEK HARRELL guilty as to Count Twelve,
  answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                      No _________            Yes _________




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        As to defendant DERRICK AYERS:

         If you found defendant DERRICK AYERS guilty as to Count Eleven, answer
  the following question:

        How do you find defendant DERRICK AYERS?

                                      Not Guilty _________ Guilty _________

         If you found defendant DERRICK AYERS guilty as to Count Twelve, answer
  the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                      No _________            Yes _________




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                                    17571



        As to defendants MOELEEK HARRELL and DERRICK AYERS:

        If you found either defendant (or both) guilty as to Count Twelve, answer the
  following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                        No _________             Yes _________




                                          39
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                                    17572



                         AS TO COUNT THIRTEEN
                         Maintaining a Stash House –
                       2 Woodpecker Drive, Troy, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       40
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                                    17573



                        AS TO COUNT FOURTEEN
              Conspiracy to Distribute and Possess with Intent to
                      Distribute Controlled Substances


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant ANTHONY KENNEDY?

                                     Not Guilty _________ Guilty _________




                                       41
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                                    17574



                         AS TO COUNT FIFTEEN
                        Money Laundering Conspiracy


        How do you find defendant MOELEEK HARRELL?

                                     Not Guilty _________ Guilty _________


        How do you find defendant ANTHONY KENNEDY?

                                     Not Guilty _________ Guilty _________




                                       42
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                                    17575



                          AS TO COUNT SIXTEEN
                         Maintaining a Stash House –
                       7 Center Road, Searsport, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       43
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                                    17576



                        AS TO COUNT SEVENTEEN
                         Maintaining a Stash House –
                    101 Roosevelt Avenue, Apartment 214,
                            Carteret, New Jersey


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________


        How do you find defendant FRANKLIN GILLESPIE?

                                     Not Guilty _________ Guilty _________


        How do you find defendant ANTHONY KENNEDY?

                                     Not Guilty _________ Guilty _________




                                       44
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                                    17577



                         AS TO COUNT EIGHTEEN
         Unlawful Possession, Brandishing, and Discharge of a Firearm


       If you found defendant FRANKLIN GILLESPIE guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                       Not Guilty _________ Guilty _________

        If—but only if—you found defendant FRANKLIN GILLESPIE guilty of
  Count Eighteen, specify if you found the defendant to have committed Count
  Eighteen in furtherance of a crime of violence, a drug trafficking crime, or both.
  Please check all that apply.

                                       Crime of Violence         _________

                                       Drug Trafficking Crime _________

       If you found defendant FRANKLIN GILLESPIE guilty as to Count Eighteen,
  answer the following two questions:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                       No _________              Yes _________

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                       No _________              Yes _________




                                         45
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                                    17578



                        AS TO COUNT NINETEEN
       Causing the Death of Paul Hoilett Through the Use of a Firearm


       If you found defendant FRANKLIN GILLESPIE guilty as to Count Eighteen,
  answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                     Not Guilty _________ Guilty _________




                                       46
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                         AS TO COUNT TWENTY
        Unlawful Possession, Brandishing, and Discharge of a Firearm


        As to defendant FRANKLIN GILLESPIE:

       If you found defendant FRANKLIN GILLESPIE guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                      Not Guilty _________ Guilty _________

         If—but only if—you found defendant FRANKLIN GILLESPIE guilty of
  Count Twenty, specify if you found the defendant to have committed Count Twenty
  in furtherance of a crime of violence, a drug trafficking crime, or both. Please
  check all that apply.

                                      Crime of Violence        _________

                                      Drug Trafficking Crime _________

       If you found defendant FRANKLIN GILLESPIE guilty as to Count Twenty,
  answer the following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                      No _________             Yes _________




                                        47
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                                    17580



        As to defendant ANTHONY KENNEDY:

       If you found defendant ANTHONY KENNEDY guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant ANTHONY KENNEDY?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant ANTHONY KENNEDY guilty of Count
  Twenty, specify if you found the defendant to have committed Count Twenty in
  furtherance of a crime of violence, a drug trafficking crime, or both. Please check
  all that apply.

                                        Crime of Violence        _________

                                        Drug Trafficking Crime _________
       If you found defendant ANTHONY KENNEDY guilty as to Count Twenty,
  answer the following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were brandished?

                                        No _________             Yes _________




                                          48
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                                    17581



        As to defendants FRANKLIN GILLESPIE and ANTHONY KENNEDY:

        If you found either defendant (or both) guilty as to Count Twenty, answer the
  following question:

       Do you find that the government proved beyond a reasonable doubt that one
  or more firearms were discharged?

                                        No _________             Yes _________




                                          49
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                                    17582



                      AS TO COUNT TWENTY-ONE
       Causing the Death of Mike Hawley Through the Use of a Firearm


       If you found defendant FRANKLIN GILLESPIE guilty as to Count Twenty,
  answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                     Not Guilty _________ Guilty _________


       If you found defendant ANTHONY KENNEDY guilty as to Count Twenty,
  answer the following question:

        How do you find defendant ANTHONY KENNEDY?

                                     Not Guilty _________ Guilty _________




                                       50
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                                    17583



                       AS TO COUNT TWENTY-TWO
                         Maintaining a Stash House –
                     9 Bings Boulevard, Swanville, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       51
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                                    17584



                      AS TO COUNT TWENTY-THREE
                         Maintaining a Stash House –
                     1189 Horseback Road, Levant, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       52
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                                    17585



                       AS TO COUNT TWENTY-FOUR
                         Maintaining a Stash House –
                         93 Troy Road, Detroit, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       53
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                                    17586



                       AS TO COUNT TWENTY-FIVE
                         Maintaining a Stash House –
                      576 Corinth Road, Garland, Maine


        How do you find defendant DERRICK AYERS?

                                     Not Guilty _________ Guilty _________




                                       54
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                                    17587



                         AS TO COUNT TWENTY-SIX
                         Unlawful Possession of Firearms


        As to defendant DERRICK AYERS:

       If you found defendant DERRICK AYERS guilty as to Count One or Count
  Two, answer the following question:

        How do you find defendant DERRICK AYERS?

                                        Not Guilty _________ Guilty _________

         If—but only if—you found defendant DERRICK AYERS guilty of Count
  Twenty-Six, specify if you found the defendant to have committed Count Twenty-Six
  in furtherance of a crime of violence, a drug trafficking crime, or both. Please
  check all that apply.

                                        Crime of Violence         _________

                                        Drug Trafficking Crime _________


        As to defendant FRANKLIN GILLESPIE:
       If you found defendant FRANKLIN GILLESPIE guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant FRANKLIN GILLESPIE?

                                        Not Guilty _________ Guilty _________

        If—but only if—you found defendant FRANKLIN GILLESPIE guilty of
  Count Twenty-Six, specify if you found the defendant to have committed Count
  Twenty-Six in furtherance of a crime of violence, a drug trafficking crime, or both.
  Please check all that apply.

                                        Crime of Violence         _________

                                        Drug Trafficking Crime _________
                                          55
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                                    17588



        As to defendant ANTHONY KENNEDY:

       If you found defendant ANTHONY KENNEDY guilty as to Count One or
  Count Two, answer the following question:

        How do you find defendant ANTHONY KENNEDY?

                                       Not Guilty _________ Guilty _________

         If—but only if—you found defendant ANTHONY KENNEDY guilty of Count
  Twenty-Six, specify if you found the defendant to have committed Count Twenty-Six
  in furtherance of a crime of violence, a drug trafficking crime, or both. Please
  check all that apply.

                                       Crime of Violence        _________

                                       Drug Trafficking Crime _________




                                         56
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                                    17589



                      AS TO COUNT TWENTY-SEVEN
                       Felon in Possession of Firearms


        How do you find defendant FRANKLIN GILLESPIE?

                                     Not Guilty _________ Guilty _________




                                       57
